     Case 1:20-cr-00481-SCJ-RDC Document 126 Filed 07/06/22 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA :
                                :
                                : CRIMINAL ACTION FILE
v.                              : NO. 1:20-CR-00481-SCJ-RDC
                                :
ELDRIDGE MAURICE BENNETT :
     Defendant.                 :
_______________________________ :

                   UNOPPOSED MOTION TO CONTINUE
                       EVIDENTIARY HEARING

      COMES NOW, Defendant Eldridge Maurice Bennett, by and through

counsel of record, and respectfully moves this Court to continue the Evidentiary

Hearing scheduled for July 7th, 2022 and in support thereof shows the Court the

following:

                                         1.

      The above reference case is scheduled for an Evidentiary Hearing on July

7th, 2022.

                                         2.

      Counsel for Defendant is respectfully requesting a continuance to allow

counsel additional time to review information received today from the Government

and confer with the Defendant.

                                         3.
     Case 1:20-cr-00481-SCJ-RDC Document 126 Filed 07/06/22 Page 2 of 5




      Counsel for the Defendant has conferred with the Government and the

Government does not oppose this motion.

                                              4.

      Accordingly, pursuant to Title 18, United States Code, Sections

3161(h)(7)(A), the parties request that the Court direct the Clerk of Court to

exclude from computation under the Speedy Trial Act.

      WHEREFORE, Counsel for Defendant is respectfully requesting that this

matter be continued for thirty (30) days excluding counsels leave of absence time.


      RESPECTFULLY SUBMITTED, this 6th day of July, 2022.


D. Lowell Thomas, PC                                       /s/Dwight L. Thomas
2296 Henderson Mill Rd, Suite 304                          Dwight L. Thomas
Atlanta, GA 30345                                          Attorney at Law
(404) 522-1400 PHONE                                       State Bar No: 704825




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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA :
                                :
                                : CRIMINAL ACTION FILE
v.                              : NO. 1:20-CR-00481-SCJ-RDC
                                :
ELDRIDGE MAURICE BENNETT :
     Defendant.                 :
_______________________________ :

                          CERTIFICATE OF SERICE

      I have this day served a copy of the foregoing motion using the ECF system,

which will send notification of such filing to the following:

                            Honorable Irina K. Dutcher
                          Assistant United States Attorney
                           Northern District of Georgia
                            75 Ted Turner Drive, S.W.
                                 Atlanta, GA 30303


      RESPECTFULLY SUBMITTED, this 6th day of July, 2022.


D. Lowell Thomas, PC                                       /s/Dwight L. Thomas
2296 Henderson Mill Rd, Suite 304                          Dwight L. Thomas
Atlanta, GA 30345                                          Attorney at Law
(404) 522-1400 PHONE                                       State Bar No: 704825




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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA :
                                :
                                :
                                : CRIMINAL ACTION FILE
v.                              : NO. 1:20-CR-00481-SCJ-RDC
                                :
                                :
ELDRIDGE MAURICE BENNETT :
     Defendant.                 :
_______________________________ :

                                     ORDER

      Said matter having come before the Court for a continuance of the

evidentiary hearing scheduled for July 7, 2022, and the matters asserted in support

of said Motion having been duly considered by this Court,

      IT IS HEREBY ORDERED that said request is hereby GRANTED. The

Evidentiary Hearing shall be continued and held in this case on ___________ at

_______ a.m./p.m.

      The that the delay between the original and rescheduled pretrial conferences

shall be excluded from Speedy trial Act calculations because the Court finds that

the reason for the delay was for good cause and the interests of justice in granting

the continuance outweigh the public’s and the defendant’s rights to a speedy trial.

18 U.S.C.§ 3161, et seq.

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This___ day of ______________, 2022



                                          ____________________
                                          Judge Regina D. Cannon
                                          United States Magistrate Court




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